Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 1 of 18 Page ID #120




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

KENT STUBBS, #M-51378,                        )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    )       No. 17-838-SMY
                                              )
NICHOLAS LAMB, et al.,                        )
                                              )
               Defendants.                    )

                            ANSWER AND AFFIRMATIVE DEFENSES

       NOW COME the Defendants, BROOKE ARMSTRONG, RICK DENSMORE, LISA

KITTLE, JEREMY KOHN, NICHOLAS LAMB, SHERRY McVEY, SHERI NEWELL, and

CHRISTOPHER WALTZ, by and through their attorney, Lisa Madigan, Attorney General for the

State of Illinois, and pursuant to Rule 8 of the Federal Rules of Civil Procedure, hereby provide

their Answer to Plaintiff’s complaint, stating as follows:




Response: Defendants admit that Plaintiff, Kent Stubbs, is incarcerated at Lawrence
Correctional Center.




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Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 2 of 18 Page ID #121




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit that
Mr. Lamb is the Warden at Lawrence. Defendants deny any other allegations in this
section.




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit


                                            2
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 3 of 18 Page ID #122




that Mr. Densmore is the Food Services Program Manager at Lawrence. Defendants deny
any other allegations in this section.




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit that
Mr. Kine is a food service manager. Defendants deny any other allegations in this section.




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Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 4 of 18 Page ID #123




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit that
Mr. Waltz is a food service supervisor. Defendants deny any other allegations in this
section.




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit that


                                            4
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 5 of 18 Page ID #124




Ms. Armstrong is a food service supervisor. Defendants deny any other allegations in this
section.




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit that
Mrs. Kittle is a food service supervisor. Defendants deny any other allegations in this
section.




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Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 6 of 18 Page ID #125




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit that
Ms. Newell is a food service supervisor. Defendants deny any other allegations in this
section.




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Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 7 of 18 Page ID #126




Response: Defendants admit that they were employed by the Illinois Department of
Corrections and acted under color of State law in their employment. Defendants admit that
Mrs. McVee is a food service supervisor. Defendants deny any other allegations in this
section.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations concerning Plaintiff’s previous lawsuits.


                                             7
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 8 of 18 Page ID #127




                                     8
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 9 of 18 Page ID #128




Response: Defendants deny that Plaintiff followed the proper grievance procedure.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations concerning Plaintiff becoming ill. Defendants deny all other
allegations in this paragraph.




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Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 10 of 18 Page ID #129




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




                                            10
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 11 of 18 Page ID #130




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




                                            11
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 12 of 18 Page ID #131




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




                                            12
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 13 of 18 Page ID #132




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph.




                                            13
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 14 of 18 Page ID #133




Response: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in these paragraphs.




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Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 15 of 18 Page ID #134




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




Response: Defendants deny any allegations that food is prepared, stored, or served in an
unsanitary state. Defendants lack knowledge or information sufficient to form a belief as
to the truth of the remaining allegations in this paragraph.




                                            15
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 16 of 18 Page ID #135




Response: Defendants deny that Plaintiff is entitled to any relief whatsoever.




Response: Defendants request a trial by jury in this matter.




                                             16
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 17 of 18 Page ID #136




                                  AFFIRMATIVE DEFENSES

       1.      Plaintiff’s claims against Defendants in their official capacity are barred by

Eleventh Amendment and sovereign immunity.

       2.      Plaintiff, an inmate in the Illinois Department of Corrections, has failed to exhaust

all available administrative remedies, prior to initiating this action so his claims are barred by the

Prison Litigation Reform Act. 42 U.S.C. § 1997e(a).

       3.      At all times relevant herein, Defendants acted in good faith in the performance of

their official duties and without violating Plaintiff’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendants are, therefore, protected from

suit by the doctrine of qualified immunity.

       Wherefore, Defendants, BROOKE ARMSTRONG, RICK DENSMORE, LISA KITTLE,

JEREMY KOHN, NICHOLAS LAMB, SHERRY McVEY, SHERRI NEWELL, and

CHRISTOPHER WALTZ, request this Honorable Court enter judgment in their favor and for any

other relief this Court deems just and proper.

                                                 Respectfully Submitted,

                                                 BROOKE ARMSTRONG, RICK DENSMORE,
                                                 LISA KITTLE, JEREMY KOHN, NICHOLAS
                                                 LAMB, SHERRY McVEY, SHERRI NEWELL,
                                                 and CHRISTOPHER WALTZ,

                                                        Defendants,

R. Levi Carwile, #6317375                        LISA MADIGAN, Attorney General
Assistant Attorney General                       State of Illinois
500 South Second Street
Springfield, IL 62701                                   Attorney for Defendants,
(217) 557-0261 Phone
(217) 524-5091 Fax                               By: s/ R. Levi Carwile
Email: rcarwile@atg.state.il.us                     R. Levi Carwile
                                                    Assistant Attorney General




                                                   17
Case 3:17-cv-00838-RJD Document 23 Filed 02/13/18 Page 18 of 18 Page ID #137




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

KENT STUBBS, #M-51378,                       )
                                             )
               Plaintiff,                    )
                                             )
       vs.                                   )        No. 17-838-SMY
                                             )
NICHOLAS LAMB, et al.,                       )
                                             )
               Defendants.                   )

                                CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2018, the foregoing certificate, Answer and
Affirmative Defenses, was electronically filed with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to the following:

                                             NONE

and I hereby certify that on the same date, I caused a copy of the same to be mailed by United
States Postal Service, in an envelope, properly addressed and fully prepaid, to the following non-
registered participant:

                                   Kent Stubbs, #M-51378
                                 Lawrence Correctional Center
                                     Inmate Mail/Parcels
                                 Lawrence Correctional Center
                                    10930 Lawrence Road
                                      Sumner, IL 62466

                                                      Respectfully submitted,


                                                      s/ R. Levi Carwile
                                                      R. Levi Carwile, #6317375
                                                      Assistant Attorney General
                                                      General Law Bureau
                                                      Office of the Attorney General
                                                      500 South Second Street
                                                      Springfield, IL 62701
                                                      (217) 557-0261 Phone
                                                      (217) 524-5091 Fax
                                                      rcarwile@atg.state.il.us



                                                 18
